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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TAMMY J. KITZMILLER, et al.            §       Civil Action No. 4:04-CV-2688
                                       §       (M.D. Pa.)
      Plaintiffs,                      §
                                       §       Hon. John E. Jones III
vs.                                    §
                                       §
DOVER AREA SCHOOL                      §
DISTRICT and DOVER AREA                §
SCHOOL DISTRICT BOARD                  §
OF DIRECTORS,                          §
                                       §
      Defendants.                      §


 REPLY OF DISCOVERY INSTITUTE AND FOUNDATION FOR THOUGHT AND
         ETHICS TO PLAINTIFFS' RESPONSE TO AMICUS BRIEFS

      Pursuant to its Motion Seeking Leave to File this Reply, Amici Discovery

Institute and the Foundation for Thought and Ethics (“FTE”) seek to correct four

false claims made in Plaintiffs' Response to Amicus Briefs.



I.    False Claim #1: "The Dover board has followed [Discovery Institute's]
      suggestion."

      This statement, found on p. 2 of Plaintiffs' Response, is demonstrably false.

Plaintiffs cite an article originally published in the UTAH LAW REVIEW (2000 UTAH

L. REV. 37) and reprinted in DARWINISM, DESIGN AND PUBLIC EDUCATION, published

by the Michigan State University Press. Two of the article's authors are Discovery



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Fellows, and the article does advocate the constitutionality of teaching about

intelligent design. However, it is obvious from reading the article that it affirms the

academic freedom of a hypothetical "John Spokes" who wants to "teach the

controversy." Following well-established precedents including Edwards v.

Aguillard, the article demonstrates the solid foundation for presenting scientific

information about biological evolution. By contrast, the Dover school board sought,

not to affirm the academic freedom of its teachers to "teach the controversy," but

rather adopted an ill-advised statement that the teachers in Dover refused to read.

This law review article deals with a very different situation from Dover, which

wanted to mandate the teaching of intelligent design for all teachers rather than

simply providing them with the academic freedom to teach the theory.

      Finally, Amicus Discovery Institute has consistently opposed this policy from

long before it was adopted and has never “changed its tune.” This fact is documented

by a press release issued by Discovery Institute which predates the adoption of

Dover’s policy, stating Discovery’s opposition to their policy:

      "[A] recent news report seemed to suggest that the Center for Science &
      Culture endorses the adoption of textbook supplements teaching about
      the scientific theory of intelligent design (ID), which simply holds that
      certain aspects of the universe and living things can best be explained as
      the result of an intelligent cause rather than merely material and
      purposeless processes like natural selection. Any such suggestion is
      incorrect.”1

1
 Pennsylvania School District Considers Supplemental Textbook Supportive of
Intelligent Design: Discovery Institute continues to recommend fully teaching

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      Shortly after the adoption of the Dover policy, the Associate Director of

Discovery Institute's Center for Science and Culture was cited in an Associated Press

article objecting to the Dover policy.2 Indeed, the very day plaintiffs filed their

lawsuit, Discovery Institute again issued a statement of opposition to Dover’s policy:

      “Apart from questions about its constitutionality, [Discovery Senior
      Fellow John] West expressed reservations about the Dover School
      Board's directive on public policy grounds.

      “‘When we first read about the Dover policy, we publicly criticized it
      because according to published reports the intent was to mandate the
      teaching of intelligent design,’ explained West. ‘Although we think
      discussion of intelligent design should not be prohibited, we don't
      think intelligent design should be required in public schools.’”3

      For a variety of reasons, both legal and policy, the Discovery Institute

consistently opposed the Dover Board's adoption of the policy in question.4


Darwinian evolution, including scientific challenges to the theory; October 6,
2004, discovery.org/scripts/viewDB/index.php?command=view&id=2231, last
visited Dec 10, 2005.
2
  "...the Seattle-based Discovery Institute, which supports scientists studying
intelligent-design theory, opposes mandating it in schools... said John West,
associate director of the institute's Center for Science and Culture." Martha
Raffaele, Associated Press, "Mandate to teach 'intelligent design' as evolution
alternate is believed to break ground," November 12, 2004.
3
  Discovery Calls Dover Evolution Policy Misguided, Calls For its Withdrawal,
discovery.org/scripts/viewDB/index.php?command=view&id=2341, last visited
Dec 10, 2005.
4
  For a full statement of Discovery Institute's consistent position regarding the
Dover policy, and a correction to inaccurate claims made about the non-
participation of Dr. Stephen Meyer as an expert witness, see "Setting the Record
Straight about Discovery Institute's Role in the Dover School District Case,"
November 10, 2005,

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II.    False Claim #2: "Discovery Institute has abandoned that position"

       After mischaracterizing the position that Discovery Institute Fellows took at

the beginning of this litigation, they can offer no support for the claim that Discovery

has abandoned that position. Moreover, it is obvious from Discovery's brief that it

vigorously defends the constitutionality of teaching about intelligent design when it is

included in a well designed science curriculum. As discussed supra, Discovery has

consistently opposed Dover’s policy to mandate the teaching of intelligent design.

Discovery’s position has remained unchanged, and it is unclear what purpose is

served by plaintiffs' gratuitous and unjustified attack on the credibility and integrity

of Discovery.



III.   False Claim #3: Discovery Institute describes its "mission and activities
       as Christian apologetics."

       Plaintiffs' Response misrepresents the mission and philosophy of Discovery

Institute, which is a secular think tank that existed for several years before it became

involved in the issue of intelligent design. In particular, plaintiffs egregiously distort

and misinterpret the content of the so-called "Wedge Document." The Institute

continues to believe that both religious and anti-religious motivations of scientists are


http://www.discovery.org/scripts/viewDB/index.php?command=view&id=3003,
last visited Dec. 10, 2005.

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irrelevant to determining the validity of a scientific theory. But because the plaintiffs

continue to misstate the Institute's position to the court, the Institute submits its

official published response to misinterpretations of the "Wedge Document" as

Appendix A.5



IV.    False Claim #4: FTE is "not a scientific [organization] pursuing scientific
       aims."

       Plaintiffs' Response at page 6 states "Numerous documents reveal FTE to be a

religious organization with religious objectives, not a scientific one pursuing

scientific aims." This statement makes as much sense as saying that Albert

Schweitzer was a Christian missionary, not a medical doctor or a world-famous

authority on Johann Sebastian Bach. Of course, Schweitzer was all three. FTE

freely concedes that is an organization with religious objectives, but establishing that

fact in no way precludes the possibility that FTE is also a scientific organization

pursuing scientific aims. Indeed, the scientific aims of FTE are borne out in the

substance contained in Of Pandas and People:

       “This book has a single goal: to present data from six areas of science
       that bear on the central question of biological origins. We don't
       propose to give final answers, nor to unveil The Truth. Our purpose,



5
 See Appendix A, "The 'Wedge Document': 'So What?' also available at
http://www.discovery.org/scripts/viewDB/filesDB-download.php?id=349, last
visited December 12, 2005.

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       rather, is to help readers understand origins better, and to see why the
       data may be viewed in more than one way.”6

       It is typical of Plaintiffs' form of argument that it responds to claims about

science by pointing to religious identity or motivation as though the latter

disqualified the claimant from standing to make scientific claims. This prejudicial

and false dichotomy should be rejected by the Court.



V.     False Claim #5: Amici made "logically inconsistent assertions that . . .
       science must discard the . . . ground rule of methodological naturalism . . .
       yet, on the other hand, intelligent design does not involve supernatural
       causation."

       Plaintiffs' Response is actually quite noteworthy in its concession (page 4, note

4) that science includes the study of "intelligent activity." Plaintiffs finally clarify

their meaning of “methodological naturalism” by explaining that “[i]t is only

supernatural ‘intelligent causes’ that are excluded by methodological naturalism.”7

But Amici have made painfully clear that the methodology of design detection,

which Plaintiffs now concede is part of science, is typically incapable of

identifying the intelligent agent—it is only able to identify that the causal agent for

the phenomenon in question was an intelligent one rather than a combination of

natural forces.



6
  Of Pandas and People (2nd ed., 1993) pg. viii.
7
  Pg. 4

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       Yet plaintiffs’ witnesses throughout the trial appeared to rely upon a

definition of science that excludes intelligent agents as causal explanations: Under

the rules of methodological naturalism, science is a search for "natural explanations

for natural phenomena" (Dr. Kenneth Miller, Day 1 (pm), p. 95; Dr. Robert Pennock,

Day 3 (am), p. 23; Dr. Barbara Forrest, Day 6 (am), p. 9). If, as the footnote

concedes, science also includes the study of the actions of intelligent agents, and

indeed the study of how to differentiate the actions of intelligent agents from the

effects of natural forces like wind and erosion, then much of the force of Plaintiffs'

argument against intelligent design (that it violates the rules of methodological

naturalism) evaporates. Of course, Plaintiffs refuse to acknowledge that science

could include the search for an intelligent cause of biological complexity, because

Plaintiffs assert that the agent responsible for such complexity would necessarily be

supernatural. But this is precisely the point of the briefs submitted by Amici—that

the search for the best explanation for biological complexity can consider the

hypothesis that it is the result of intelligent activity, and preclude from the scientific

endeavor speculation concerning the agent's identity. As noted, the inference to

intelligent causes is based upon our observation-based experience of the cause-and-

effect relationship between the origin of information and the action of intelligent

agency. Plaintiffs' failure to grasp this argument results not from a logical




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inconsistency in the position of Amici but rather from the devastating effect such an

acknowledgement would have upon their attack on the theory of intelligent design.



                                     Conclusion

      For the foregoing reasons, Amici respectfully request that this Court reject

Plaintiffs’ contentions.

                                              Respectfully submitted,



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